                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 WESTERN DISTRICT OF MISSOURI
                                      WESTERN DIVISION

UNITED STATES OF AMERICA,                                 )
                                                          )
            Plaintiff,                                    )
                                                          )
   v.                                                     ) Criminal Action No.
                                                          ) 04-00246-05-CR-W-DW
LOREN W. MAY, SR.,                                        )
                                                          )
            Defendant.                                    )

                                 REPORT AND RECOMMENDATION

        On May 26, 2005, defense counsel made an oral motion seeking judicial determination of

Defendant’s mental competency. Defendant was examined by Jason V. Dana, Psy. D., who prepared

a report dated August 15, 2005.

        On September 12, 2005, I held a competency hearing. Defendant was present, represented

by appointed attorney Kurt D. Marquart. The government was represented by Assistant United

States Attorney W. Brent Powell. The parties stipulated to the contents and findings of Dr. Dana

(Tr. at 3),1 and waived the ten-day objection period (Tr. at 3).

        Based upon the uncontroverted evidence stipulated to by the parties in this case, I find that

Defendant is competent to stand trial and to assist in his defense. Therefore, it is

        RECOMMENDED that the court, after making an independent review of the record and

applicable law, enter an order finding Defendant competent to stand trial and to assist in his defense.

        It is

        ORDERED that each party has until September 14, 2005, to file and serve specific objections

(Tr. at 3).


        1
         “Tr”. refers to the transcript of the competency hearing.



        Case 4:04-cr-00246-DGK                Document 204           Filed 09/13/05   Page 1 of 2
                                         /s/ Robert E. Larsen
                                         ROBERT E. LARSEN
                                         United States Magistrate Judge

Kansas City, Missouri
September 13, 2005




                                     2


      Case 4:04-cr-00246-DGK   Document 204   Filed 09/13/05     Page 2 of 2
